                           Case 1:19-cr-00714-VM Document 32 Filed 11/23/21 Page 1 of 4
AO 245B (Rev. 09/19)   Judgment in a Criminal Case   IRUPPRGLILHGZLWKLQ'LVWULFWRQ6HSW
                       Sheet 1



                                          UNITED STATES DISTRICT COURT
                                                        Southern District
                                                     __________   Districtofof
                                                                             New York
                                                                               __________
                                                                              )
              UNITED STATES OF AMERICA                                        )        JUDGMENT IN A CRIMINAL CASE
                         v.                                                   )
                          DOV MALNIK                                          )
                                                                              )        Case Number: 19 Crim. 714
                                                                              )        USM Number: 91352-054
                                                                              )
                                                                              )         Michael Steven Schachter
                                                                              )        Defendant’s Attorney
THE DEFENDANT:
✔ pleaded guilty to count(s)
G                                     9 of Superseding Indictment, S1 19 cr 714
G pleaded nolo contendere to count(s)
   which was accepted by the court.
G was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                            Offense Ended             Count
15 U.S.C. 78j(b) & 78ff,          Securities Fraud                                                              10/7/2020            9

17 CFR 240.10b-5, & 18

USC 2.

       The defendant is sentenced as provided in pages 2 through                   4          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has been found not guilty on count(s)
✔ Count(s) all open counts
G                                                            is      ✔ are dismissed on the motion of the United States.
                                                                     G
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                                              11/19/2021
                                                                            Date of Imposition of Judgment




                                                                            Signature of Judge




                                                                                              The Honorable Victor Marrero, U.S.D.J.
                                                                            Name and Title of Judge


                                                                                                              11/23/2021
                                                                            Date
                           Case 1:19-cr-00714-VM Document 32 Filed 11/23/21 Page 2 of 4
AO 245B (Rev. 09/19) Judgment in Criminal Case
                     Sheet 2 — Imprisonment

                                                                                                     Judgment — Page    2       of   4
 DEFENDANT: DOV MALNIK
 CASE NUMBER: 19 Crim. 714

                                                            IMPRISONMENT
           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:
  30 months. The 30-month sentence is being reduced by eight months to 22 months in BOP custody to account for the time the
  defendant spent incarcerated abroad in connection with the offense for which he was sentenced in this case.




      ✔ The court makes the following recommendations to the Bureau of Prisons:
      G
           The Court recommends placement in one of the following facilities: Otisville or Allenwood.




      G The defendant is remanded to the custody of the United States Marshal.

      G The defendant shall surrender to the United States Marshal for this district:
          G at                                     G a.m.      G p.m.        on                                             .

          G as notified by the United States Marshal.
      ✔ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
      G
          ✔ before 2 p.m. on
          G                            3/19/2022                         .

          G as notified by the United States Marshal.
          G as notified by the Probation or Pretrial Services Office.


                                                                  RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                        to

 at                                                 , with a certified copy of this judgment.



                                                                                                   UNITED STATES MARSHAL


                                                                          By
                                                                                                DEPUTY UNITED STATES MARSHAL
                           Case 1:19-cr-00714-VM Document 32 Filed 11/23/21 Page 3 of 4
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 5 — Criminal Monetary Penalties
                                                                                                    Judgment — Page       3    of         4
 DEFENDANT: DOV MALNIK
 CASE NUMBER: 19 Crim. 714
                                               CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                    Assessment            5HVWLWXWLRQ        )LQH                $9$$$VVHVVPHQW              -97$$VVHVVPHQW
 TOTALS           $ 100.00                  $                      $ 50,000.00           $                            $


 G The determination of restitution is deferred until                    . An Amended Judgment in a Criminal Case (AO 245C) will be
      entered after such determination.

 G The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
      before the United States is paid.

 Name of Payee                                                 Total Loss***             Restitution Ordered          Priority or Percentage




 TOTALS                               $                         0.00        $                      0.00


 G     Restitution amount ordered pursuant to plea agreement $

 G     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 G     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       G the interest requirement is waived for the            G fine   G restitution.
       G the interest requirement for the           G fine      G restitution is modified as follows:

 * Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
 ** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 *** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
 or after September 13, 1994, but before April 23, 1996.
                           Case 1:19-cr-00714-VM Document 32 Filed 11/23/21 Page 4 of 4
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 6 — Schedule of Payments

                                                                                                               Judgment — Page      4      of      4
 DEFENDANT: DOV MALNIK
 CASE NUMBER: 19 Crim. 714

                                                        SCHEDULE OF PAYMENTS

 Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A    ✔ Lump sum payment of $ 50,100.00
      G                                                         due immediately, balance due

            G     not later than                                    , or
            G     in accordance with     G C,       G D,       G E, or         G F below; or
 B    G Payment to begin immediately (may be combined with                   G C,        G D, or       G F below); or
 C    G Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                 over a period of
                           (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

 D    G Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                 over a period of
                           (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E    G Payment during the term of supervised release will commence within                      (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

 F    G Special instructions regarding the payment of criminal monetary penalties:




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
 Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 G Joint and Several
      Case Number
      Defendant and Co-Defendant Names                                                     Joint and Several                Corresponding Payee,
      (including defendant number)                         Total Amount                         Amount                          if appropriate




 G The defendant shall pay the cost of prosecution.
 G The defendant shall pay the following court cost(s):
 ✔ The defendant shall forfeit the defendant’s interest in the following property to the United States:
 G
      $1,594,779, per the Court's prior order dated November 15, 2021, which is included by reference in this judgment.


 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
 (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
 prosecution and court costs.
